                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                            )
                                                    )
v.                                                  )       NO. 3:12-00206-6
                                                    )       JUDGE CAMPBELL
CURTIS TATE                                         )

                                            ORDER


       Pending before the Court is a Motion to Set Hearing for Change of Plea (Docket No. 164).

The Motion is GRANTED.

       The Court will hold a change of plea hearing for Defendant Curtis Tate on January 15, 2014,

at 9:00 a.m. Any proposed plea agreement shall be submitted to the Court by January 13, 2014.

       It is so ORDERED.

                                                    ____________________________________
                                                    TODD J. CAMPBELL
                                                    UNITED STATES DISTRICT JUDGE




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